
Mobbhy, J
delivered the opinion of the court.
The plaintiffs are appellants from an order setting aside writs of attachment and sequestration obtained by them against the steamboat Rodolph belonging to the defendant. These proceedings had been instituted about ten days before the maturity of a note of $6420 62, drawn by defendant to their order in Vicksburg, and made payable on the -first of March last; at the Merchants’ Bank of the Oity of Mew Orleans. This note was secured [370] by mortgage on the boat attached. The parties to this suit are all non-residents ; the plaintiffs residing in Kentucky, and the defendant in Mississippi. We have already had occasion to decide that the provisions of our Oode of Practice as amended by the statute of 1826, authorize the issuing of -an attachment in eases where both plaintiff and defendant reside out of the State, and where a debt is not yet due; 10 La. Rep. 447; but while we make this declaration, we cannot refrain from expressing the regret that our attachment laws have received such an extension. Its policy may well be questioned. Independent of the vast increase of litigation it creates in our courts to the delay and prejudice of the business of our own citizens, and the many vexatious and oppressive proceedings it gives rise to, such legislation tends materially to injure the true interests of the country in a commercial point of view; foreign merchants must surely feel some reluctance in-sending their goods and merchandise within the limits of our State, or in placing funds in the hands of agents here for the purpose of purchasing the products of our soil, liable as their property is to be attached and subjected to sacrifice and heavy costs, for debts wherever contracted and however remote the period of their maturity.
In the present case we are of opinion that the boat was not liable to be attached bo"ore the note sued on became due. The expressions used in the statute of 1S26, “ that the debtor is about to remove his property out of the State before the debt becomes duef must be understood as applying to property which the creditor might have supposed would not be carried out of the State, and to which he might have looked for his security at the time of contracting or since; but it would be unreasonable to extend them to .a species of property which from its nature and destination must necessarily be taken out of the State, and which the creditors of the owner could not have believed would remain continually within its limits. To consider steamboats *592[371] and vessels in ordinary eases as coming -within the meaning of the statute of 1826 would bo to declare at once that their owners are to be deprived of the free use of their property as long as they have any outstanding claims against them. If this exception is not written in the law, it must be im plied, for it results from the nature and fitness of things, and is imperiously-called for by the interests of trade. In applying a statute so much in derogation to the general principles of jurisprudence, we feel bound to give such a construction, as will lessen the evils and inconvenience likely to flow from it.
But in the present instance, it appears to us that the plaintiffs were bound in good faith to abstain from the proceedings they instituted before the maturity of their claim, even were they strictly legal. This boat appears to have been sold to defendant by the plaintiffs. It has been asserted in argument, and not denied, that the note sued on was given in part payment of the price ; at all events, it was secured by a mortgage on the boat. When this mortgage was taken by the plaintiffs, they well knew that this steamer was engaged in the Yazoo trade. It was not contemplated by either of the parties that she was to lie a whole year idle in the port of How Orleans. On the contrary, it must hav8 been their mutual understanding, that during all the time allowed for the payment of this note, the boat was freely to continue in a trade in which New Orleans was one of the termini, and Yazoo, in the State of Mississippi, the other. Ho fraud, or intention to defraud, is alleged, nor is there any reason given for these proceedings, except that defendant was about to remove his property out of the State. The plaintiffs might with the same propriety have attached the Rodolph the day after taking the note and mortgage. The evidence shows, that when the boat was seized, she was taking in freight, and was to have started that very day on one of her regular trips; that she had a return cargo engaged, and would in all probability have been back in our port at the time the note fell due. Hot a tittle of evidence has been adduced to raise the suspicion, that any thing unfair was in the contemplation of the defendant. If plaintiffs could attach [372] or sequester tho boat mortgaged before the expiration of the credit they agreed to give defendant, it is difficult to perceive why a cotton factor, who sells a thousand bales of cotton to a non-resident for any European market, and receives his bill, payable at a future day, cannot attach the cotton when about to bo shipped, on the ground that the debtor is removing his property out of the State. Such an unjust and faithless course of conduct could not be tolerated, without a total disregard of the first principles of justice and fair dealing.
The judgment of the commercial court is, therefore, affirmed, with costs.
